AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)
Civil Action No, 21-cv-1326

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4())

This summons and the attached complaint for (name of individual and title, if any):

_ “Tris House &% @ Wan wee lito 1 =

were received by me on (date) _ i Lf, le & / Qa}

Date:

L] I personally served the summons and the attached complaint on the individual at (place):

___ ON ate) ; or

 

LJ] I left the summons and the attached complaint at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) __, and mailed a copy to the individual’s last known address: or

1 served the summons and the attached complaint on (name of individual) Kae [ry prble - Law
who is designated by law to accept service of process on behalf of (name of organization) This fh ee

Lore LLC on (date) (24/2021 @ 6:0 zone

LC) I returned the summons unexecuted because / ior

() Other (specif):

My feesare$ 20 _fortravel and $ A _forservices,foratotalof$ 8-68 Ay

I declare under penalty of perjury that this info ion is true.

Wf24f2e2/ Ny Pipe

Dttrrind Seriya | C.AS

Printed name and title

     

erver's Signature

Thal S$ 59” S4%, beist ulus sfc, “wl SF2/f

Server's address

Additional information regarding attempted service, etc.:

(Gase2Z2leovCOLe2Z6EBHL FRited112102/21 FRagerl.ef20p Rocument §
Wolf Process Service

PO Box: 341760, Milwaukee, WI 53234-1760~ P: 414-507-3064 - F: 414-643-0968

AFFIDAVIT OF PROCESS SERVICE or NOT FOUND

STATE: WISCONSIN

CASE NO; 21-ev-1326

COURT DATE: NA

COURT: UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF WISCONSIN

PLAINTIFF: TAMARA JONES
(Petitioner)
Vv.
DEFENDANT: THIS HOUSE is a HOME LLC, et al.

 

To be served on: This House is a Home [LC e/o Registered Agent Kai Tnmble-Lea
Address: _4542 N 84" St #44. Milwaukee. WI 53225

!, DEZMOND J. SERDYNSKI. being duly swom, depose and say: | am over the age of 18 years and not a party to this action, and that within the boundaries of the
state where service was effected, [ was authorized by law to perform said service.

XXX On NOVEMBER 24.2021. at___ 6:02PM | executed service by delivering an authenticated copy of the following documents listed below:
SUMMONS IN A CIVIL ACTION: COLLECTIVE AND CLASS ACTION COMPLAINT: CIVIL COVER SHEET; DISCLOSURE STATEMENT:
CERTIFICATE OF SERVICE: NOTICE OF FILING CONSENT TO JOIN LAWSUIT; CONSENT FORMS

 

 

On the following dates and times listed below. [ attempted service of the follow ing documents:

In accordance with state statues in the manner marked below:
¥ Personal: By personally hand delivering copies to the person/entity being served.

© — Substituted at Work/Business: By personally delivering copies to the place of employment/business of the person being served and delivering into the hands
of an officer or managing agent whose name and title is listed below:

Name: Title:

9 Substituted at Residence: By leaving copies at the dwelling, house, or usual abode of the person being served, with a member of the household over the age
of fourteen and explaining the general nature of the papers.

Name Relationship

 

2 By posting copies in a conspicuous manner to the address of the person/entity being served and by mailing via first class U.S. Mail. a copy of the papers
being served.

© Non-Service: After due search, careful inquiry and diligent attempts at the address(es) listed below. I have been unable to effect process upon the
person/entit being served because of the following reason(s):

 

Location of Service/Attempts:

Attempt 1: Other: N64W 14567 MILL. ROAD. MENOMONEE FALLS. W1 5305] Comments: 11/24/21 at 6:02pm: document served

Attempt 2: Other: n/a Comments: n/a

 

 

Attempt 3: Other: n/a Comments: n/a

 

  
   
 

 

DESCRIPTION: Black female. slender build, approti

Signature of Process sere: OQ) 9nd ~ 5
a fy day ot. AUVembe— 2021 ™
fi y ate

 

 

 

 

Xe Peon ene tStel AD Ke
(Signature) = NOT TOTAL: Gp
c f =C
NOTARY PUBLIC, ihe County, WeSl (State) .
< OG US): i =u 4
My commission expires: Z (Seal) =>

Case 2:21-cv-01326-BHL Filed 12/02/21 Page 2 of 20 Document 5
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)
Civil Action No. 21-cv-1326

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R, Civ. P. 4())

This summons and the attached Fi as for (name of individual and title, if any):

“Wye Heuse is & Home TLC

were received by me on (date) lI | | Os / ZX? ]

C1 I personally served the summons and the attached complaint on the individual at (place):

on (date) a Or _

O I left the summons and the attached complaint at the individual’s residence or usual place of abode with (name)

. a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

 

x I served the summons and the attached complaint on (name of individual) Kad Trim Lle ~ Lew
who is designated by law to accept service of process on behalf of (name of organization) Thi's [tease 15S @
fame DZ LLC on date) W [24/2021 © blugaan
(1 I returned the summons unexecuted because , or

LC] Other (specifi: —_ a ee ==

My fees are $ Ay PF _ for travel and $ 2 ____ for services, foratotalof$ $00 362

I declare under penalty of perjury that this information is true.

 

  
   

 

Server's signature}

Date: Hs (/29/ 202 _

De Zrond Seedyn ti! _ CF ©.

Printed name and title

 

/8AI §. SY% Sky Wed pufvads, LF S8LLY

Server's address

 

Additional information regarding attempted service, etc.:

 
Wolf Process Service

PO Box: 341760, Milwaukee, WI 53234-1760~ P: 414-507-3061 ~ F: 414-643-0968

AFFIDAVIT OF PROCESS SERVICE or NOT FOUND

STATE: WISCONSIN

CASE NO; 21-ev-1326

COURT DATE: NA

COURT: UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF WISCONSIN

PLAINTIFF: TAMARA JONES
(Petitioner)
Vv.
DEFENDANT: THIS HOUSE is a HOME LLC, et al.

 

To be served on: This House is a Home !] LLC e/o Registered
Address: _4352 N 66" St. Milwaukee, WI 53216

I, DEZMOND J. SERDYNSKLI. being duly swom, depose and sav: | am over the age of 18 years and not a party to this action, and that within the boundaries of the
state where service was effected. I was authorized by law to perform said service.

 

XXX On NOVEMBER 24. 2021, at ___ 6:02PM [ executed service by delivering an authenticated copy of the following documents listed below:
SUMMONS IN A CIVIL ACTION; COLLECTIVE AND CLASS ACTION COMPLAINT; CIVIL COVER SHEET; DISCLOSURE STATEMENT:
CERTIFICATE OF SERVICE; NOTICE OF FILING CONSENT TO JOIN LAWSUIT; CONSENT FORMS

On the following dates and times listed below. | attempted service of the following documents:

In accordance with state statues in the manner marked below:
¥ Personal: By personally hand delivering copies to the person/entity being served.

2 Substituted at Work/Business: By personally delivering copies to the place of employmenvbusiness of the person being served and delivering into the hands
of an officer or managing agent whose name and title is listed below:

Name: Title:

 

© Substituted at Residence: By leaving copies at the dwelling, house, or usual abode of the person being served, with a member of the household over the age
of fourteen and explaining the general nature of the papers.

Name Relationship

 

 

9 By posting copies in a conspicuous manner to the address of the person/entity being served and by mailing via first class U.S. Mail, a copy of the papers
being served.

© Non-Service: After due search. careful inquiry and diligent attempts at the address(es) listed below. I have been unuble to effect process upon the
person/entity being served because of the following reason(s):

 

Location of Service/Attempts:

Attempt 1: Other: N64W 14567 MILL ROAD. MENOMONEE FALLS. WI 53051 Comments: 11/24/21 at 6:02pm: document served

Attempt 2: Other: n/a Comments: n/a

 

 

Attempt 3: Other: n/a Comments: n/a

COMMENTS: arrived to residence of the Registered Agent, the woman that answers the door admits to being Kai Trimble-Lea

 

DESCRIPTION: Black female. slender build. a

   

 

 

 

 

(Signature) = ee TOTAL: 20°
‘ os . eee : ’
NOTARY PUBLIC, aa > County, WIS & gsiatey A =
My commission expires: 04) 1S | / zy (Seal) BONS. “6 LIS a

#

Case 2:21-cv-01326-BHL Filéd 12/02/21 Page 4 of 20 Document 5
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)
Civil Action No. 21-cv-1326

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4()))

Bn summons SS the attached complaint for (name of individual and title, if any):

Use “ wo Borne We AC
were received by me on (date) aT Is /ao2 ]

C) Ipersonally served the summons and the attached complaint on the individual at (place):

 

On (date) ; or

 

 

U1 I left the summons and the attached complaint at the individual's residence or usual place of abode with (name)

__, aperson of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

Mi served the summons and the attached complaint on (name of individual) Kay Tre Tien 4le - = Leap,

 

who is designated by law to accept service of process on behalf of (name of organization) Thos [fom se /S AE

 

=
Therm = LLC on (date) Uf2 Y/20%/ @ Gfo zp FRE
1 I returned the summons unexecuted because or

LJ Other (specifi): _

My fees are $ — 2” fortraveland$ Se __ for services, for a total of $ 0:90 20°?

I declare under penalty of perjury that this information is true.

Date: UN 2Y/20H - D Sa a
Server's signatu
Dezrurd Seryasfhey' OR o x
Printed namé and title _— -

 

   

/$2/ S$ SY* Sh, Aes t iL ttle, Lez <82/Y

Server's address

 

Additional information regarding attempted service, etc.:

 
Wolf Process Service

PO Box: 341760, Milwaukee, WI 53234-1760~ P: 414-507-3061 ~ F: 414-643-0968

AFFIDAVIT OF PROCESS SERVICE or NOT FOUND

STATE: WISCONSIN
CASE NO: 21-ev-1326
COURT DATE: NA
COURT: UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF WISCONSIN
PLAINTIFF: TAMARA JONES
(Petitioner)
Vv.
DEFENDANT: THIS HOUSE is a HOME LLC, et al.

To be served on: This House is a Home ILLLC c/o Registered Agent Kai Trmble-Lea
Address: 5039 N 83" St. Milwaukee, W153218

I. DEZMOND J. SERDYNSKI, being duly swom. depose and say: | am over the age of 18 years and nota party to this action, and that within the boundaries of the
state Where service was effected, | was authorized by law to perform said service.

XXX On NOVEMBER 24.2021. at __ 6:02PM [executed service by delivering an authenticated copy of the following documents listed below;
SUMMONS IN A CIVIL ACTION: COLLECTIVE AND CLASS ACTION COMPLAINT; CIVIL COVER SHEET: DISCLOSURE STATEMENT:
CERTIFICATE OF SERVICE; NOTICE OF FILING CONSENT TO JOIN LAWSUIT; CONSENT FORMS

On the following dates and times listed below, | attempted service of the following documents:

In accordance with state statues in the manner marked below:
¥ Personal: By personally hand delivering copies to the person/entity being served.

o Substituted at Work/Business: Bv personally delivering copies to the place of employment/business of the person being served and delivering into the hands
of an officer or managing agent whose name and title is listed below:

Name: Title:

 

o Substituted at Residence: By leaving copies at the dwelling, house, or usual abode of the person being served, with a member of the houschold over the age
of fourteen and explaining the general nature of the papers.

Name Relationship

° _ By posting copies in a conspicuous manner to the address of the person/entity being served and by mailing via first class U.S. Mail. a copy of the papers
being served.

o =©Non-Service: After due search, careful inquiry and diligent attempts at the address(es) listed below, [have been unable to effect process upon the
person/entity being served because of the following reason(s):

 

Location of Service/Attempts:

Attempt 1: Other: N64W 14567 MILL ROAD. MENOMONEE FALLS, WI 53051 Comments: 11/24/21 at 6:02pm: document served
Attempt 2: Other:_n/a Comments: n/a

Attempt 3: Other: n/a Comments: n/a

COMMENTS: amved to residence of the Registered Agent, the woman that answers the door admits to being Kai Trimble-Lea

9” approximate age 46 vears, dark brown hair

Date //-CTYE- Z/

DESCRIPTION: Black female. slender build. a simate height 5°

   
  
 

 

Signature of Process Server:

Ww
ubscnibed and Sworn to before me, this a Ut day of. Uoutm 2c »2021
WATT

 

(Signature) = he NOTsa, son TOTAL:
norary pubic, M) Jw County, WI £C CIES SGutty sg_ 7 125
My commission expires: 64 | [S| 2 c (Seal) as * UZ rae fs

Case 2:21-cv-01326-BHL Filed 12/02/21 Page 6 of 20 Document 5

 
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)
Civil Action No. 21-cv-1326

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4(1))

This summons and the attached complaint for (name of individual and title, if any):

_ Vite Frouse_ is one. i)
were received by me on (date) _ iL | \\e\2 Bor)

CL] I personally served the summons and the attached complaint on the individual at (place):

 

On (date) ; or

—— SS —_—_—_—_—_—$———— >

 

 

OO I left the summons and the attached complaint at the individual’s residence or usual place of abode with (name)

oe 7 , aperson of suitable age and discretion who resides there,

i served the summons and the attached complaint on (name of individual) K a ; | F- iPrrdgle ~ fitz |

who is designated by law to accept service of process on behalf of (name of organization) “rs Sales eo oe

on (date) __ __, and mailed a copy to the individual's last known address: or

 

 

 

Herne fe LLC on (date) W/2Y4/242/ C2 6/62 pOoR—

a i 4
(] I returned the summons unexecuted because a 3 or
LI Other (specifi):

 

My fees are $ Ay __ for travel and $ TA, for services, foratotalof$ 0:00 30°
I declare under penalty of perjury that this information is true.

Date. YW/2ZY/f/B2/

 

 

Server's Signature

rinted name inl title

Dewmind Seodyathé C25.

[221 S$, 50°, Lust biota, te SPL

Server's address

Additional information regarding attempted service, etc.:

 
Wolf Process Service

PO Box: 341760, Milwaukee, WI 53234-1760~ P: 414-507-3061 ~ F: 414-643-0968

AFFIDAVIT OF PROCESS SERVICE or NOT FOUND

STATE: WISCONSIN

CASE NO: 21-ev-1326

COURT DATE: NA

COURT: UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF WISCONSIN

PLAINTIFF: TAMARA JONES
(Petitioner)
Vv
DEFENDANT: THIS HOUSE is a HOME LLC, et al.

To be served on: This House 1s.a Home 1V_ LLC c/o Registered Agent Kai Trimble-Lea
Address: _4361 N.66" St. Milwaukee, WL 53216

|, DEZMOND J. SERDYNSKL_ being duly swom, depose and sav; | am over the age of 18 years and nota party to this action, and that within the boundaries of the
state where service was effected. [ was authorized by law to perform satd service.

XXX On NOVEMBER 24.2021. at 6:02PM [executed service by delivering an authenticated copy of the following documents listed below:
SUMMONS IN A CIVIL ACTION; COLLECTIVE AND CLASS ACTION COMPLAINT; CIVIL COVER SHEET; DISCLOSURE STATEMENT;
CERTIFICATE OF SERVICE: NOTICE OF FILING CONSENT TO JOIN LAWSUIT: CONSENT FORMS

On the following dates and times listed below. | attempted service of the following documents:

In accordance with state statues in the manner marked below:
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© Substituted at Work/Business: By personally delivering copies to the place of employment/business of the person being served and delivering into the hands
of an officer or managing agent whose name and title is listed below:

Name: Title:

 

© Substituted at Residence: By leaving copies at the dwelling, house, or usual abode of the person being served, with a member of the household over the age
of fourteen and explaining the general nature of the papers.

Name Relationship

© By posting copies in a conspicuous manner to the address of the person/entity being served and by mailing via first class LIS. Mail. a copy of the papers
being served.

6 Non-Service: After due search, careful inquiry and diligent attempts at the address(es) listed below, I have been unable to effect process upon the
person/entity being served because of the following reason(s):

 

Location of Service/Attempts:

Attempt 1: Other: N64W 14567 MILL ROAD. MENOMONEE FALLS, W1 5305] Comments: 11/24/21 at 6:02pm: document served
Attempt 2: Other: n/a Comments: n/a

Attempt 3: Other:_n/a Comments: n/a

red Agent. the woman that answers the door admits to being Kai Trimble-Lea

COMMENTS: amived to residence of the Registe:

 
  
 
 
  
   

 

DESCRIPTION: Black female. slender build, approximate height 5°9", approximate age 46 vears, dark brown hair

<= 4 i Date N-tY-xy

Subscribed and Sworn to before me, this a | day of, Al Ovembe il , 2021

 

Signature of Process Server:

 

322
TOTAL: 3

 

(Signature)
norary pusiic, \4i)iw (State) i,
a
My commission expires: SI : , -
“81 i C

Case 2:21-cv-01326-BHL Filed 12/02/21.°Page 8 of 20 Document 5
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)
Civil Action No. 21-cv-1326

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4(1))

This summons and the attached complaint for (name of individual and title, if any):
“Wie Bouse is a Wome Lie

|
were received by me on (date) | I[1j 202

[1] Ipersonally served the summons and the attached complaint on the individual at (place):

 

 

On (date) ; or

 

 

CL) I left the summons and the attached complaint at the individual’s residence or usual place of abode with (name)

__, a person of suitable age and discretion who resides there,

on (date) _, and mailed a copy to the individual’s last known address; or

 

x I served the summons and the attached complaint on (name of individual) K, ae i a Ale —Lew
who is designated by law to accept service of process on behalf of (name of organization) Tiki fxn Se 1g a
Joeme i LLC on (date) blag, wel @& WZ RH

LC] I returned the summons unexecuted because : or

CJ Other (specifiy:

 

 

My fees are $ Ge for travel and $ ralmay J for services, for a total of $ 0:00 40>

I declare under penalty of perjury that this information is true.

Date: Mf. 2Y/: Ze2l ° Se

Detemnd Strdyndii pCR &:

Printe@name and title

  

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132) 5: SR: wh Pr7ftavte WZ Sey |

Server's address

Additional information regarding attempted service, etc.:

 
Wolf Process Service

PO Box: 341760, Milwaukee, WI 53234-1760~ P: 414-507-3061 ~ F: 414-643-0968

AFFIDAVIT OF PROCESS SERVICE or NOT FOUND

STATE: WISCONSIN

CASE NO: 21-ev-1326

COURT DATE: NA

COURT: UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF WISCONSIN

PLAINTIFF: TAMARA JONES
(Petitioner)
Vv.
DEFENDANT: THIS HOUSE is a HOME LLC, et al.

 

To be served on: This House is a Home V LLC ¢/o Registered Agent Kai Trimble-Lea
Address: 7634 N Seneca Road. Fox Point, WI 53217

!, DEZMOND J. SERDYNSKI. being duly sworn. depose and say: | am over the age of 18 years and nota party to this action, and that within the boundaries of the
state where service was effected, | was authorized by law to perform said service.

XXX On _NOVEMBER 24.2021, at ___ 6:02PM executed service by delivering an authenticated copy of the following documents listed below:

SUMMONS IN A CIVIL ACTION: COLLECTIVE AND CLASS ACTION COMPLAINT: CIVIL COVER SHEET: DISCLOSURE STATEMENT:

CERTIFICATE OF SERVICE: NOTICE OF FILING CONSENT TO JOIN LAWSUIT; CONSENT FORMS

On the following dates and times listed below. | attempted service of the following documents:

In accordance with state statues in the manner marked below:
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© Substituted at Work/Business: Bv personally delivering copies to the place of employmenvbusiness of the person being served and delivering into the hands
of an officer or managing agent whose name and title is listed below:

Name: Tithe:

 

© Substituted at Residence; By leaving copies at the dwelling, house, or usual abode of the person being served, with a member of the houschold over the age
of fourteen and explaining the general nature of the papers.

Name Relationship

 

 

° By posting copies in a conspicuous manner to the address of the person/entity being served and by mailing via fitst class U.S. Mail. a copy of the papers
being served.

@ Non-Service: After due search. careful inquiry and diligent attempts at the address(es) listed below, | have been unable to effect process upon the
person/entity bemg served because of the following reason(s):

 

Location of Service/Attempts:

 

 

 

 

Attempt 1: Other: N64W 14567 MILL ROAD. MENOMONEE FALLS. WI 5305] Comments: 11/24/21 at 6:02pm: document served
Attempt 2: Other: n/a Comments: n/a
Attempt 3: Other: n/a Comments: n/a

 

 

 

 

 

te ; ; a0
(Signature) Seer TOTAL: 2a
NOTARY PUBLIC. JM ybus County. Uisc= (State) a
My commission expires: € >& 1S }2Y (Seal) = = ; x ; Css =

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Case 2:21-cv-01326-BHL Filed 12/02/21 Page 10 of 20 Document 5
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)
Civil Action No. 21-cy-1326

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

This summons and the attached complaint for (name of individual and title, if any):
vs Wrose 16 PO ee SEN EAL.

were received by me on (date) _ | |-|f- 202 {-

C1 I personally served the summons and the attached complaint on the individual at (place):

 

on (date) ‘or

2

 

O I left the summons and the attached complaint at the individual’s residence or usual place of abode with (name)

_____, aperson of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual's last known address; or
x I served the summons and the attached complaint on (name of individual) K, ae VF poble~Ligs
who is designated by law to accept service of process on behalf of (name of organization) 7 Ys fous fe a

Lyne WE LLL on date) W2Y/e0rt @ 02 Dor.

1 I returned the summons unexecuted because : or

 

[1] Other (specifi):

 

 

 

My fees are $ Aye fortraveland$ = for services, for a total of $ 0.0 Ore

I declare under penalty of perjury that this information is true
Date: fey Zoef{ \

Server's signature

 

LDetwrmvn  Sterdynilit, C18
Printed an .

[221 S) SUP est Mrharia, Lz © 32iY

Server's address

Additional information regarding attempted service, etc.:

 
Wolf Process Service

PO Box: 341760, Milwaukee, WI 53234-1760~ P: 414-507-3061 ~ F: 414-643-0968

AFFIDAVIT OF PROCESS SERVICE or NOT FOUND

STATE: WISCONSIN
CASE NO: 21-cev-1326
COURT DATE: NA
COURT: UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF WISCONSIN
PLAINTIFF: TAMARA JONES
(Petitioner)
ME
DEFENDANT: THIS HOUSE is a HOME LLC, ct al.

To be served on: This House is a Home VI LLC c/o Registered Agent Kai ‘Trimble-lea
Address: 4426 N 88" St. Milwaukee. WI53225

1, DEZMOND J. SERDYNSKL. being duly swom, depose and say: | am over the age of 18 years and nota party to this action, and that within the boundaries of the
state where service was effected, | was authorized by law to perform said service

XXX On NOVEMBER 24, 2021. at ___ 6:02PM [executed service by delivering an authenticated copy of the following documents listed below:
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Name: Title:

 

° Substituted at Residence: By leaving copies at the dwelling, house, or usual abode of the person being served, with a member of the household over the age
of fourteen and explaining the general nature of the papers.

Name Relationship

 

9 By posting copies in a conspicuous manner to the address of the person/entity being served and by mailing via first class U.S. Mail. a copy of the papers
being served.

9  Non-Service: After due search. careful inquiry and diligent attempts at the address(es) listed below, | have been unable to effect process upon the
person/entity being served because of the following reason(s):

 

Location of Service/Attempts:

 

 

 

 

 

Attempt 1: Other: No4W 14567 MILL ROAD. MENOMONEE FALLS, WL53051 Comments: 11/24/21 at 6:02pm: document served
Attempt 2: Other:_n/a Comments: n/a
Attempt 3: Other:_n/a Comments: n/a

 

 

 

COMMENTS: arrived to residence of the Registered Agent, the woman that answers the door admits to being Kai Trimble-Lea

  
  
  
 

DESCRIPTION: Black female. slender build, a e 46 vears, dark brown hair

. Date [-tY/—2y

Signature of Process Server:

 

f
(Signature)

oF SM iAg SS TOTAL: 30%
notary PuBLic, My] yo County, CU UICE “(Stale)

My commission expires: { 4 | (5/24 (Seal) , z in| ma =

6p Oe are, “=

Littryy,

wwii!

#

Case 2:21-cv-01326-BHL Filed 12/02/21 Page 12 of 20 Document 5
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)
Civil Action No. 21-cyv-1326

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4())

This summons and the attached compl int for (name of individual and title, if any):
71S Pause iS Goose ye Se

were received by me on (date) _ / ! -~([8-Bd|.

1 I personally served the summons and the attached complaint on the individual at (place):

 

_ On Gate) , Or

C1) I left the summons and the attached complaint at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on date) __, and mailed a copy to the individual's last known address; or

x Iserved the summons and the attached complaint on (name of individual) if Kat / SUpr. ble - Le ze
who is designated by law to accept service of process on behalf of (name of organization) This / Py Use (© a

fame WH LLC on (date) W/2y/2u2( @b10

1) I returned the summons unexecuted because Lor

C1 Other (specify): oe

 

My fees are $ _ Gyr for travel and $ Oo for services, for a total of $ e080 3eF4

I declare under penalty of perjury that this info ion is true.

Date: // (ey /oa2l

     

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Degmink Sts dyrsfi_ CWS.

Printed nanié and title

[32] S- SYP SDS.) ett 7rakiauy wi Shay

Server's address

Additional information regarding attempted service, etc.:

 
Wolf Process Service

PO Box: 341760, Milwaukee, WI 53234-1760~ P: 414-507-3061 ~ F: 414.643.0968

AFFIDAVIT OF PROCESS SERVICE or NOT FOUND

STATE: WISCONSIN

CASE NO: 21-ev-1326

COURT DATE: NA

COURT: UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF WISCONSIN

PLAINTIFF: TAMARA JONES
(Petitioner)
V.
DEFENDANT: THIS HOUSE is a HOME LLC, et al.

   

To be served on: This House is a Home VIILLLC c/o Registered Agent Kai Trimble-Lea
Address: 4544 N 84" St.. Milwaukee. WI 53225

L, DEZMOND J. SERDYNSKL. being duly sworn, depose and say: | am over the age of 18 years and nota party to this action, and that within the boundaries of the
state where service was effected, | was authorized by law to perform said service.

XXX On _NOVEMBER 24.2021. at __ 6:02PM [ executed service by delivering an authenticated copy of the follow ing documents listed below:
SUMMONS IN A CIVIL ACTION; COLLECTIVE AND CLASS ACTION COMPLAINT: CIVIL COVER SHEET; DISCLOSURE STATEMENT:
CERTIFICATE OF SERVICE; NOTICE OF FILING CONSENT TO JOIN LAWSUIT: CONSENT FORMS

On the following dates and times listed below, I attempted service of the following documents:

 

In accordance with state statues in the manner marked below:
¥ Personal: By personally hand delivering copies to the person/entity being served.

9 Substituted at Work/Business: Bv personally delivering copies to the place of employmenv/business of the person being served and delivering into the hands
of an officer or managing agent whose name and title is listed below:

Name: Title:

 

 

2 Substituted at Residence: By leaving copies at the dwelling, house, or usual abode of the person being served, with a member of the household over the age

of fourteen and explaining the general nature of the papers.

Name Relationship

 

2 By posting copies in a conspicuous manner to the address of the person/entity being served and by mailing via first class U.S. Mail, a copy of the papers
being served

o ~Non-Service: After due search, careful inquiry and diligent attempts at the address(es) listed below, | have been unable to effect process upon the
person/entity being served because of the following reason(s);

 

Location of Service/Attempts:

 

 

 

 

 

 

Attempt 1: Other: N64W14567 MILL ROAD, MENOMONEE FALLS. WI 5305] Comments: 11/24/21 at 6:02pm: document served
Attempt 2: Other:_n/a Comments: n/a
Attempt 3: Other: n/a Comments: n/a

 

COMMENTS: arrived to residence of the Registered Agent. the woman that answers the door admits to being Kai Timble-Lea

 

    
 
 

DESCRIPTION: Black female, slender buil “approximate age 46 vears. dark brown hair

 

 

 

 

 

Signature of Process Server: ( ne 4 Date fi / -& Y—-Z/
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(Signature) : TOTAL: 30
NOTARY PUBLIC, MM) VW County, LW SC = _ State) ei
My commission expires: ee (Seal) ; =

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Case 2:21-cv-01326-BHL Filed 12/02/22 Page 14 of 20 Document 5
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)
Civil Action No. 21-cv-1326

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4())

This summons and the attached complaint for (name of individual and title, if any):

“Was WHOSE LS OW OFe YW LLCU _k
were received by me on (date) {\ Ap\acae

© [personally served the summons and the attached complaint on the individual at (place):

 

 

ON (date) ; or

 

C] I left the summons and the attached complaint at the individual’s residence or usual place of abode with (name)

. a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual's last known address: or

g I served the summons and the attached complaint on (name of individual) _ k A - ) Kira ble Len
who is designated by law to accept service of process on behalf of (name of organization) Sh gS A OUSZ [RG

Mex “VE” Ltt on date) H/2Y/202( @ btu zz0%~

 

 

 

 

 

O I returned the summons unexecuted because oe lor
C) Other (specifi): _ — i SS
My fees are $ >) an for travel and $ \\. for services, foratotal of$ 9-09 30"

  

CA

~Server’s sigdature

I declare under penalty of perjury that this —< true.
pate: ///24/Ze2/

7

Legmnd Serhgnf , GES.

Printed name and title

[3@/ S- SY SA, rok — 22> Haserilay UE S321$

Server’ 's address

Additional information regarding attempted service, etc.:

Aaa reel

 
Wolf Process Service

PO Box: 341760, Milwaukee, WI 53234-1760~ P: 414-507-3061 ~ F: 414-643-0968

AFFIDAVIT OF PROCESS SERVICE or NOT FOUND

STATE: WISCONSIN

CASE NO: 21-cv-1326

COURT DATE: NA

COURT: UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF WISCONSIN

PLAINTIFF: TAMARA JONES
(Petitioner)
Vv.
DEFENDANT: THIS HOUSE is a HOME LLC, et al.

‘To be served on: This House isa Home VIILLLC c/o Registered Agent Kai [rimble-Lea
Address: 6451 N 49 St., Milwaukee, WI 53223

I, DEZMOND J. SERDYNSKL. being duly swom, depose and say: | am over the age of 18 years and not a party to this action, and that within the boundaries of the
state where service was effected. [ was authorized by law to perform said service.

XXX On _NOVEMBER 24. 2021. at ___ 6:02PM I executed service by delivering an authenticated copy of the following documents listed below:
SUMMONS IN A CIVIL ACTION; COLLECTIVE AND CLASS ACTION COMPLAINT; CIVIL COVER SHEET; DISCLOSURE STATEMENT;
CERTIFICATE OF SERVICE: NOTICE OF FILING CONSENT TO JOIN LAWSUIT; CONSENT FORMS

 

On the following dates and mes listed below, | attempted service of the following documents:

In accordance with state statues in the manner marked below:
¥ Personal: By personally hand delivering copies to the person/entity being served

o Substituted at Work/Business; By personally delivering copies to the place of employment/business of the person being served and delivering into the hands
of an officer or managing agent whose name and title is listed below:

Name: Title:

 

o Substituted at Residence: By leaving copies at the dwelling, house, or usual abode of the person being served, with a member of the household over the age
of fourteen and explaining the general nature of the papers.

Name Relationship

© By posting copies in a conspicuous manner to the address of the person/entity being served and by mailing via first class U.S. Mail. a copy of the papers
being served.

o  Non-Serviee: After due search, careful inquiry and diligent attempts at the address(es) listed below. I have been unable to effect process upon the
person/entity being served because of the following reason(s):

 

Location of Service/Attempts:

 

 

 

 

 

Attempt 1: Other: N64W14567 MILL ROAD. MENOMONEE FALLS, WI 53051 Comments: 11/24/21 at 6:02pm: document served
Attempt 2: Other: n/a Comments: n/a
Attempt 3: Other:_n/a Comments: n/a

 

 

COMMENTS: arrived to residence of the Registered Agent. the woman that answers the door admits to being Kai Trimble-Lea

DESCRIPTION: Black female. slender build. approxmmate height 3°9". approxifhate age 46 years. dark brown hair

Signature of Process server } Date / / ~ Zy “Cf
7 at fi
o befgre me, this 7h day of Dover . 2021,

  

subscribed and Swo

    

: « + eS
(Signature) = | = TOTAL: S02.
NOTARY PUBLIC. HL) WwW County WO1S < (State)

My commission expires: >< | ig [24 (Seal) ‘

Case 2:21-cv-01326-BHL Filed 12/02/21 Page 16 of 20 Document 5
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)
Civil Action No. 21-cv-1326

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4())

This summons and the attached complaint for (name of individual and title, if any):
This House (Ss © Wepe CBRr Lic

! } :
were received by me on (date) _ /l j ls/A2!

C I personally served the summons and the attached complaint on the individual at (place):

 

 

On (date) 5 Or

C I left the summons and the attached complaint at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

x served the summons and the attached complaint on (name of individual) Kan “Tro rosle - Lew

who is designated by law to accept service of process on behalf of (name of organization) _ This frowse £5

Bb Aome CBRE LLE on (date) fz Zee C 4/0 Zpgr5

C1 I returned the summons unexecuted because : or

 

C1 Other (specify): _

 

 

My feesare$  %(), 00 fortraveland$ =~ _ forservices, foratotalof$  292VO

I declare under penalty of perjury that this information is true.

Date. //AV/LO4/ ys fC.

Oe Zretvny/ See Hey the . Lx 8.

Printed name and title

 

[$21 S59 84, risk ribwentex, WE 532IY

Server’saddress t—~—S

 

Additional information regarding attempted service, etc.:

 
Wolf Process Service

PO Box: 341760, Milwaukee, WI 53234-1760~ P: 414-507-3061 ~ F: 414-643-0968

AFFIDAVIT OF PROCESS SERVICE or NOT FOUND

STATE: WISCONSIN

CASE NO: 21-ev-1326

COURT DATE: NA

COURT: UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF WISCONSIN

PLAINTIFF: TAMARA JONES
(Petilioner)
V.
DEFENDANT: THIS HOUSE is a HOME LLC, et al.

To be served on: This House is a Home CBRF LLC c/o Registered Agent Kai Trimble-Lea
Address: _10135 W. Hampton Ave, Suite |, Milwaukee. WI 53225

I, DEZMOND J. SERDYNSKL being duly swom, depose and sav: | am over the age of 18 years and nota party to this action, and that within the boundaries of the
state where service was effected. | was authorized by law to perform said service.

XXX On NOVEMBER 24,2021. at 6:02PM I executed service by delivering an authenticated copy of the following documents listed below:
SUMMONS IN A CIVIL ACTION; COLLECTIVE AND CLASS ACTION COMPLAINT; CIVIL COVER SHEET; DISCLOSURE STATEMENT;
CERTIFICATE OF SERVICE; NOTICE OF FILING CONSENT TO JOIN LAWSUIT; CONSENT FORMS

On the following dates and times listed below. | attempted service of the following documents:

In accordance with state statues in the manner marked below:
¥ — Personal: By personally hand delivering copies to the person/entity being served.

© Substituted at Work/Business: By personally delivering copies to the place of employmenv/business of the person being served and delivering into the hands
of an officer or managing agent whose name and ttle is listed below:

Name: Title:

 

° Substituted at Residence; By leaving copies at the dwelling, house, or usual abode of the person being served, with a member of the household over the age
of fourteen and explaining the general nature of the papers.

Name_ Relationship

2 By posting copies in a conspicuous manner to the address of the person/entity being served and by mailing via first class U.S. Mail. a copy of the papers
being served.

© Non-Serviee: Afier due search, careful inquiry and diligent attempts at the address(es) listed below, [ have been unable to effect process upon the
person/entity being served because of the following reason(s):

 

Location of Service/Attempts:

Attempt 1: Other: N64W14567 MILL ROAD. MENOMONEE FALLS, WI 53051 Comments: | 1/24/21 at 6:02pm: document served

   

Attempt 2: Other:_n/a Comments: n/a
Attempt 3: Other:_n/a Comments: n/a
COMMENTS: arrived to residence of the Registered Agent, the woman that answers the door admits to being Kai Trimble-Lea

roximate age 46 years, dark brdwn hair

: Date / / /2 t i Lf
2, this Ay" day of, Moved 202 oe

DESCRIPTION: Black female. slender build, approtimatge height 5°9"_ a

   
 
 
 
 
 
  

 

Signature of Process Server:

Subseribed and Sworn tg,befor

 

= Cb
= TOTAL: ZX

(Signature)

NOTARY PUBLIC, 1) LAS County, Wisc = = Asia
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HA) es EN
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My commission expires: 04 / /S_/ Zy (Seal)
Hiya

Case 2:21-cv-01326-BHL Filed 12/02/21 Page 18 of 20 Document 5
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)
Civil Action No. 21-cv-1326

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4())

This summons and the attached complaint for (name of individual and title, if any):
Aart vrimble- Leg oe

were received by me on date) _ | vi 1Q, Wo \

I personally served the summons and the attached complaint on the individual at (place):

be WI4S6 No\) Road, Méronornee Talls, -
Wom SZos| } on daw) 11/24]202) @liczper

C) I left the summons and the attached complaint at the individual’s residence or usual place of abode with (name)

 

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

 

C1 I served the summons and the attached complaint on (name of individual)

who is designated by law to accept service of process on behalf of (name of organization) _

on (date) : or
(1) [returned the summons unexecuted because 5 or

C) Other (specifi): —_

 

 

 

AahdIS _ for services, for a total of $ 900 S/,/s~

My fees are $ BO: OW} _ for travel and

I declare under penalty of perjury that this information is true.
Date: wa ZY ZOo2( _ ne J VL AG =

/ Server's sighature

 

 
  

Dezmoa a Serdy nsler ee

Printed name and title

 

ASL Fs SU 54, luets pi lwauka, we FILS

Server's address

 

Additional information regarding attempted service, etc.:

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Wolf Process Service

PO Box: 341760, Milwaukee, WI 53234-1760~ P: 414-507-3061 ~ F: 414-643-0968

AFFIDAVIT OF PROCESS SERVICE or NOT FOUND

STATE: WISCONSIN

CASE NO: 21-ev-1326

COURT DATE: NA

COURT: UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF WISCONSIN

PLAINTIFF: TAMARA JONES
(Petitioner)
V.
DEFENDANT: THIS HOUSE is a HOME LLC, et al.

To be served on: KAI TRIMBLE-LEA
Address: _N64W14567 MILL ROAD. MENOMONEEF FALLS. W15305]

1. DEZMOND J. SERDYNSKI. being duly sworn. depose and sav: | am over the age of 18 years and nota party to this action, and that within the boundaries of the
slate where service was effected, [ was authorized by law to perform said service.

 

XXX On NOVEMBER 24,2021, at 6:02PM | executed service by delivering an authenticated copy of the following documents listed below:
SUMMONS IN A CIVIL ACTION; COLLECTIVE AND CLASS ACTION COMPLAINT: CIVIL COVER SHEET: DISCLOSURE STATEMENT;
CERTIFICATE OF SERVICE; NOTICE OF FILING CONSENT TO JOIN LAWSUIT; CONSENT FORMS

On the following dates and times listed below. [ attempted service of the following documents:

In accordance with state statues in the manner marked below:
“Personal: By personally hand delivering copies to the person/entity being served.

@ Substituted at Work/Business: By personally delivering copies to the place of employmenvbusiness of the person being served and delivering into the hands
of an officer or managing agent whose name and title is listed below:

Name: Title:

 

9 Substituted at Residence: By leaving copies at the dwelling, house, or usual abode of the person being served, with a member of the household over the age
of fourteen and explaining the general nature of the papers.

Name Relationship

 

 

° By posting copies in a conspicuous manner to the address of the person/entity being served and by mailing via first class U.S. Mail, a copy of the papers
being served.

& Non-Service: After due search, careful inquiry and diligent attempts at the address(es) listed below. | have been unable to effect process upon the
person/entity being served because of the following reason(s):

 

Location of Service/Attempts:

Attempt 1: Other: N64W 14567 MILL ROAD. MENOMONEE FALLS. WI 53041 Comments: 11/24/21 at 6:02pm: document served
Attempt 2: Other: n/a Comments: n/a

Attempt 3: Other: n/a Comments: n/a

COMMENTS: arrived to residence of the defendant, the woman that answers the door admits to being Kai Trimble-Lea

  

 

(Signature) — eS: = TOTAL: 5 / e

NoTARY PUBLIC. 29) /A_- County, / 2— Bead.“

My commission expires: o 3 (Seal) BN ay tes a
0 OR earn S

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Case 2:21-cv-01326-BHL Filed 12/02/21 Page 20 of 20 Document 5
